 Case: 3:16-cv-50310 Document #: 254-1 Filed: 09/15/23 Page 1 of 3 PageID #:3567




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            WESTERN DIVISION



NATIONAL INSTITUTE OF FAMILY              )
AND LIFE ADVOCATES, et al.,               )
                                          )
            Plaintiffs,                   )
                                          )
                                          )
            v.                            )
                                          )       No. 16 CV 50310
                                          )
MARIO TRETO JR.,                          )       Judge Iain D. Johnston
                                          )
                                          )       Magistrate Judge Lisa A. Jensen
            Defendant.                    )
__________________________________________)
                                          )
RONALD SCHROEDER, et al.,                 )
                                          )       No. 17 CV 4663
            Plaintiffs                    )
                                          )       Judge Iain D. Johnston
            v.                            )
                                          )       Magistrate Judge Lisa A. Jensen
MARIO TRETO JR.,                          )
                                          )
            Defendant.                    )


                      DECLARATION OF JULIA C. PAYNE
  Case: 3:16-cv-50310 Document #: 254-1 Filed: 09/15/23 Page 2 of 3 PageID #:3568




       I, Julia C. Payne, pursuant to the provisions of 28 U.S.C. § 1746, do hereby declare as

follows:

       1.      I am at least 18 years of age and am competent to testify.

       2.      On September 14, 2023, I performed a Google search for “abortion in Illinois.”

NIFLA Ex. 20 (attached hereto). That search returned 22,600,000 results, including the following:

            a. An “abortion finder” website with a search tool to find a “verified abortion

               provider” and a link to a list of organizations that provide financial assistance for

               abortion, Ex. 21 (attached hereto);

            b. The website for the ACLU of Illinois, which informs women that “Illinois law

               ensures that abortion is legal for all people” and includes links to websites to “find

               an abortion provider” and to find “financial support,” Ex. 22 (attached hereto);

            c. The City of Chicago’s website, which provides information about the legality of

               abortion in Illinois, links to abortion guides by state, the phone number for an “all-

               options talkline,” and a warning about “crisis pregnancy centers,” Ex. 23 (attached

               hereto);

            d. The website for Planned Parenthood of Illinois, which includes a link to book an

               appointment online, Ex. 24 (attached hereto);
            e. A list of clinics in Illinois that provide abortion according to Google maps, Ex. 20;

            f. The website for the Center for Reproductive Rights, which states that “[a]bortion

               will remain legal in Illinois,” Ex. 20;

            g. An article from CBS News, stating that “[a]bortion rights remain intact in Illinois,”

               Ex. 20;

            h. The Guttmacher Institute’s website, which includes an “interactive map” of “U.S.

               abortion policies,” Ex. 20;

            i. A Wikipedia article, which states that “[a]bortion in Illinois is legal,” Ex. 20;

            j. The State’s own press release concerning its post-Dobbs protections for

               reproductive rights and abortion statistics, Ex. 20;


                                                  1
 Case: 3:16-cv-50310 Document #: 254-1 Filed: 09/15/23 Page 3 of 3 PageID #:3569




          k. An “Abortion Clinics in Illinois” website that includes a link to “request an

             appointment,” Ex. 25 (attached hereto);

          l. A series of news articles and other websites discussing Illinois’s legal protections

             for abortion, Ex. 20;

          m. And finally, only after everything listed above, the website for Plaintiff Informed

             Choices, Ex. 20.

      I declare under penalty of perjury that the foregoing is true and correct.

Executed on September 15, 2023.


                                                            ____________________________
                                                            Julia C. Payne




                                                2
